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                     UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF CONNECTICUT

CONFECTIONERY ARTS            :
INTERNATIONAL, LLC,                 :
                                    :            17 Civ. 00108 (AVC)
      Plaintiff,                    :
                                    :
      v.                            :
SUNFLOWER SUGAR ART USA,            :
INC. and JOHN DOES 1-10             :
                                    :
      Defendants.                   :
                                    :


                    MOTION TO WITHDRAW APPEARANCE

       The undersigned counsel, pursuant to D. Conn. L. Civ. R. 7(e), requests
that she be permitted to withdraw as counsel for Defendant Sunflower Sugar Art
USA Inc. (“Sunflower”). In support of this motion, undersigned represents that
there is good cause as Defendant Sunflower has retained new counsel.




                                                      Respectfully submitted,
                                                      /s/ Kathryn R. Sylvester
                                                          Kathryn R. Sylvester
                                                                P.O. Box 5076
                                                   Woodbridge, CT, 06525-0376

July 2, 2018

Cc: all counsel by CM/ECF
